Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA



   JENNIFER MORRILL, individually and on           Case No. 1:22-cv-20955-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   EVELYN RIVERA, ALISHIA                          Case No.: 1:22-cv-20968-DPG
   CARTAGENA, and DOREEN ENDRESS, on
   behalf of themselves and all others similarly
   situated,

                   Plaintiffs,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   JOHN MCMAHON, individually and on               Case No. 1:22-cv-20978-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   Additional Cases on Next Page
Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 2 of 6




   ANDREW GUARINO, individually and on                 Case No. 1:22-cv-20981-DPG
   behalf of themselves and all others similarly
   situated


                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.



   SHANNON THOMAS, individually and on                 Case No. 1:22-cv-20984-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   v.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   RICHARD KUNZ, individually and on behalf            Case No. 1:22-cv-21003-DPG
   of all others similarly situated,

                   Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                   Defendant.


   JOHNIE KIMBROUGH, individually and on               Case No. 1:22-cv-21044-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                   Defendant.




                                                   2
Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 3 of 6




   MATTHEW MYERS, individually and on                  Case No. 1:22-cv-21054-DPG
   behalf of all others similarly situated,

                    Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                    Defendant.


   STEPHENIE STONE, individually and on                Case No. 1:22-cv-21094-DPG
   behalf of all others similarly situated,

                    Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                    Defendant.



               ORDER RE CONSOLIDATION OF ACTIONS AND PROCESS FOR
                     APPOINTMENT OF INTERIM CLASS COUNSEL

         THIS CAUSE comes before the Court on the parties’ Stipulation [ECF No. 9] to

  consolidate certain cases and establish a process for the appointment of interim class counsel. The

  Court has reviewed the Stipulation and agrees that consolidation of the above-styled cases is

  appropriate to avoid unnecessary duplication of judicial labor and effort as well as to conserve the

  parties’ resources. Being fully advised, it is ORDERED AND ADJUDGED as follows:

         1.     The following actions pending in this District shall be consolidated for all pre-trial

  purposes pursuant to Federal Rule of Civil Procedure 42(a) (hereafter the “Consolidated Action”):

              a. Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG;

              b. Rivera, et al. v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20968-DPG;

              c. McMahon v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20978-DPG;

              d. Guarino v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20981-DPG;



                                                   3
Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 4 of 6




              e. Thomas v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20984-DPG;

              f. Kunz v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21003-DPG;

              g. Kimbrough v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21044-DPG;

              h. Myers v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21054-DPG; and

              i. Stone v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21094-DPG..

         2.      All papers filed in the Consolidated Action must be filed under Case No. 1:22-cv-

  20955-DPG, the number assigned to the first-filed case, and must bear the following caption:

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                           Case No. 1:22-cv-20955-DPG

    In re Lakeview Loan Servicing Data

    Breach Litigation



         3.      The case file for the Consolidated Action will be maintained under Master File Case

  No. 1:22-cv-20955-DPG.

         4.      The Clerk is directed to administratively CLOSE the following related cases:

                 a. Rivera, et al. v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20968-DPG

                 b. McMahon v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20978-DPG

                 c. Guarino v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20981-DPG

                 d. Thomas v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20984-DPG

                 e. Kunz v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21003-DPG

                 f. Kimbrough v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21044-DPG

                 g. Myers v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21054-DPG




                                                  4
Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 5 of 6




                  h. Stone v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21094-DPG

          5.      Any action subsequently filed, transferred, or removed to this Court that arises out

  of the same or similar operative facts as the Consolidated Action will be automatically

  consolidated with it 10 calendar days following the filing of that action. If any party objects to

  such consolidation or otherwise wishes to seek alternative relief, they shall do so before the

  expiration of that period.

          6.      The parties shall file a Notice of Related Cases pursuant to Civil L.R. 3-12

  whenever a case that should be consolidated into this action is filed in, or transferred to, this

  District. If the Court determines that the case is related, the clerk shall:

                  a. place a copy of this Order in the separate file for such action;

                  b. serve on plaintiff’s counsel in the new case a copy of this Order;

                  c. direct that this Order be served upon defendant(s) in the new case; and

                  d. make the appropriate entry in the Master Docket.

          7.      Any counsel who has filed an action in this Consolidated Action may file an

  individual or joint application for consideration as interim class counsel no later than fourteen (14)

  calendar days from the date of entry of this Order. Each attorney’s individual or joint application

  shall not exceed ten (10) pages double-spaced addressing the factors set forth in Rule 23(g) and

  may include a firm resume(s). Counsel may file a two-page double-spaced response (including

  attachments), no later than five (5) business days from the filing deadline of the initial applications.

          8.      Plaintiffs will file the Consolidated Complaint no later than 45 days following the

  appointment of interim class counsel. Defendant will respond to the Complaint no later than 30

  days following its filing.




                                                     5
Case 1:22-cv-20955-DPG Document 19 Entered on FLSD Docket 05/05/2022 Page 6 of 6




        9.     The parties will file a Joint Scheduling Report 21 days after the filing of the

  Consolidated Complaint.

        DONE AND ORDERED in Chambers at Miami, Florida, this 4th day of May 2022.




                                           ________________________________
                                           DARRIN P. GAYLES
                                           UNITED STATES DISTRICT JUDGE




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